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3
     Attorney for defendant
4    SCOTT PETERSON

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8
                          UNITED STATES DISTRICT COURT
9
                         EASTERN DISTRICT OF CALIFORNIA
10

11
     UNITED STATES OF AMERICA,            No.   10-CR-0299-08 WBS
12
                  Plaintiff,
13
          v.                              STIPULATION AND [PROPOSED] ORDER
14                                        TO CONTINUE J&S
     SCOTT PETERSON,
15
                  Defendant.
16

17        The defendant, Scott Peterson, through his undersigned

18   counsel and the United States, through its undersigned counsel,

19   hereby stipulate and request that judgment and sentencing,

20   currently set for Monday, July 21, 2014 at 9:30 am, be vacated

21   and continued until Monday, August 11, 2014 at 9:30 am.           USPO

22   Miranda Lutke has been informed and has no objection.

23        Defense counsel was delayed in getting the informal

24   objections to USPO Lutke and a continuance is necessary to

25   provide USPO Lutke sufficient time to review the objections and

26   attachments and complete the final presentence report, in that

27   the objections and attachments are lengthy and complex.

28        As such the parties also stipulate and request that the
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1    presentence report schedule be modified as follows:

2         Judgment and Sentencing date:                 August 11, 2014

3         Reply or statement of non-opposition:         August 4, 2014

4         Motion for correction:                        July 28, 2014

5         Final PSR:                                    July 21, 2014

6         I, William E. Bonham, the filing party, have received

7    authorization from AUSA Justin Lee to sign and submit this

8    stipulation and proposed order on his behalf.

9         Accordingly, the defense and the United States stipulate and

10   request that judgment and sentencing for defendant Scott Peterson

11   should be continued until Monday, August 11, 2014 at 9:30 am.

12   Dated: June 26, 2014                    BENJAMIN B. WAGNER
                                             United States Attorney
13

14                                           By:/s/ WILLIAM BONHAM for
                                             JUSTIN LEE
15                                           Assistant U.S. Attorney

16
     Dated: June 26, 2014                    By:/s/ WILLIAM BONHAM for
17                                           WILLIAM BONHAM
                                             Counsel for defendant
18                                           SCOTT PETERSON
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1                                      ORDER

2         IT IS SO ORDERED.     Judgment and sentencing currently set for

3    Monday, July 21, 2014 is vacated and continued to Monday, August

4    11, 2014, at 9:30 am. It is further ordered that the pre-sentence

5    report schedule is modified as follows:

6         Judgment and Sentencing date:                 August 11, 2014

7         Reply or statement of non-opposition:         August 4, 2014

8         Motion for correction:                        July 28, 2014

9         Final PSR:                                    July 21, 2014

10   Dated:   June 27, 2014
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